                             Case 2:22-cv-03981-MWF-E Document 1 Filed 06/10/22 Page 1 of 9 Page ID #:1



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                                  ATLANTIC CASUALTY INSURANCE
                              6   COMPANY
                              7
                              8                         UNITED STATES DISTRICT COURT
                              9                        CENTRAL DISTRICT OF CALIFORNIA
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                             10
                             11   ATLANTIC CASUALTY                             Case No.
       Los Angeles




                                  INSURANCE COMPANY,
                             12                                                 COMPLAINT FOR
                                                  Plaintiff,                    DECLARATORY RELIEF
                             13
                                        v.
                             14
                                  3D DIAMOND MASK COMPANY,
                             15   INC.
                             16                   Defendant.
                             17
                             18         Plaintiff ATLANTIC CASUALTY INSURANCE COMPANY alleges as
                             19   follows:
                             20                                        PARTIES
                             21         1.     ATLANTIC CASUALTY INSURANCE COMPANY (“Atlantic
                             22   Casualty”) is, and, at all times herein mentioned, was, a surplus lines insurance
                             23   company doing business in the State of California. Atlantic Casualty is a
                             24   corporation organized under the laws of the State of North Carolina, with its
                             25   principal place of business in Goldsboro, North Carolina.
                             26         2.     Plaintiff is informed and believes, and thereon alleges, that Defendant
                             27   3D DIAMOND MASK COMPANY, INC. (“3D Diamond”) is a corporation
                             28   organized under the laws of the State of California, with its principal place of
                                                                                            COMPLAINT FOR DECLARATORY
                                                                                                                RELIEF
                             Case 2:22-cv-03981-MWF-E Document 1 Filed 06/10/22 Page 2 of 9 Page ID #:2



                              1   business in Chatsworth, California.
                              2                             JURISDICTION AND VENUE
                              3          3.    The Court has subject matter jurisdiction pursuant to 28 U.S.C. §
                              4   1332(a)(2) because there is complete diversity of citizenship between Atlantic
                              5   Casualty and 3D Diamond and the amount in controversy exceeds $75,000.
                              6          4.    The Court has personal jurisdiction over 3D Diamond because 3D
                              7   Diamond has its principal place of business in California.
                              8          5.    Venue in this District is proper under 28 U.S.C. § 1391(b)(1) because
                              9   3D Diamond’s registered address is in this District and Division and the Policy at
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                             10   issue was delivered to 3D Diamond at its principal place of business, located in this
                             11   District.
       Los Angeles




                             12          6.    An actual case and controversy of a justiciable nature exists between
                             13   Atlantic Casualty and 3D Diamond regarding the duties, rights, and obligations, if
                             14   any, under the subject insurance Policy. Atlantic Casualty is, therefore, entitled to
                             15   bring this declaratory judgment action in this Court pursuant to the Federal
                             16   Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.
                             17          7.    Atlantic Casualty seeks a declaration that it has satisfied its obligations
                             18   under an insurance policy it issued to 3D Diamond. 3D Diamond disputes that
                             19   Atlantic Casualty has paid what is owed and claims additional amounts are due to it
                             20   under the policy.
                             21                                 BACKGROUND FACTS
                             22          8.    Atlantic Casualty issued Commercial Property Insurance Policy No.
                             23   M227000686 to 3D Diamond for the policy period June 22, 2020 to June 22, 2021
                             24   (“Policy”). The Policy provides certain property coverage for the property located
                             25   at 9001 Oso Ave., Unit H in Chatsworth, California as well as 3D’s business
                             26   personal property located therein, subject to the Policy’s terms, exclusions,
                             27   conditions, limitations, and endorsements. A true and correct copy of the Policy is
                             28   attached here as Exhibit A.
                                                                                            COMPLAINT FOR DECLARATORY
                                                                           -2-                                  RELIEF
                             Case 2:22-cv-03981-MWF-E Document 1 Filed 06/10/22 Page 3 of 9 Page ID #:3



                              1         9.     3D Diamond claims to have suffered a water loss at the Property on or
                              2   about March 15, 2021, which 3D Diamond claims affected certain machinery at the
                              3   Property, rendering the machinery incapable of performing its intended purpose of
                              4   making face masks.
                              5         10.    Atlantic Casualty has paid benefits under the Policy 3D Diamond in
                              6   the amount of $57,040.00 to date. 3D Diamond claims that Atlantic Casualty owes
                              7   the full policy limit for Business Personal Property, or $192,960.00.
                              8         11.    Atlantic Casualty contends that it has paid the full amounts of benefits
                              9   owed under the Policy because 3D Diamond’s Business Personal Property limit
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                             10   under the Policy is subject to a Co-Insurance Penalty. Specifically, Atlantic
                             11   Casualty asserts that during the application process for the Policy, 3D Diamond
       Los Angeles




                             12   represented that it owned approximately $250,000 in business personal property.
                             13   However, during the investigation process into the Claim, Atlantic Casualty
                             14   discovered that 3D Diamond appears to have owned at least $1,360,000 in business
                             15   personal property at the time the Claim was submitted, thereby triggering the
                             16   Policy’s 80% co-insurance penalty.
                             17         12.    3D Diamond disputed Atlantic Casualty’s calculation of its business
                             18   personal property at the time of loss. Atlantic Casualty thus requested additional
                             19   documentation from 3D Diamond to determine whether the Co-Insurance Penalty
                             20   applied. The requested documents (“Requested Documentation”) included the
                             21   following:
                             22         a.     Each and every document reflecting or referring to inventories or
                             23         schedules of all of the tangible property (damaged and undamaged) at
                             24         premises at the Property between June 22, 2020 (policy inception) and March
                             25         15, 2021 (date of loss), including quantities, costs, and values.
                             26         b.     Each and every document reflecting or referring to any and all
                             27         accounting balance sheets or other accounting records reflecting any or all of
                             28         the tangible property (damaged and undamaged) at the Property between
                                                                                           COMPLAINT FOR DECLARATORY
                                                                           -3-                                 RELIEF
                             Case 2:22-cv-03981-MWF-E Document 1 Filed 06/10/22 Page 4 of 9 Page ID #:4



                              1         June 22, 2020 (policy inception) and March 15, 2021 (date of loss).
                              2                c.    Each and every document reflecting or referring to the purchase
                              3         of, payment for, or financing of any or all of the tangible property (damaged
                              4         and undamaged) at the Property between June 22, 2020 (policy inception)
                              5         and March 15, 2021 (date of loss).
                              6                d.    Each and every document reflecting or referring to any and all
                              7         accounting balance sheets describing the corporate assets of 3d Diamond
                              8         Mask between June 22, 2020, and the present.
                              9                e.    Each and every correspondence, e-mail, note, and any other
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                             10         document reflecting any communication by or on behalf of 3d Diamond
                             11         Mask and any bookkeeper, accountant, lender, or financial institution
       Los Angeles




                             12         referring to any of the inventories, schedules, accounting records, purchase
                             13         records, payment records, or financing records referred to above.
                             14                f.    If 3d Diamond Mask agrees, copies of 3d Diamond Mask’s
                             15         Federal Income Tax returns for the years 2019-2020.
                             16         A true and correct copy of Atlantic Casualty’s letter requesting the above-
                             17   referenced documents and records is attached hereto as Exhibit B.
                             18         13.    Atlantic Casualty also examined 3D Diamond, under oath, regarding
                             19   the value of its business personal property.
                             20         14.    However, 3D Diamond did not answer all questions posed at the
                             21   Examination Under Oath, and refused, and has continued to refuse, to provide the
                             22   Requested Documentation or to allow Atlantic Casualty to inspect its financial
                             23   records.
                             24         15.    Following 3D Diamond’s refusal to provide the Requested
                             25   Documentation and/or to permit an inspection of its records, Atlantic Casualty hired
                             26   a third party company to review the data that had been made available for purposes
                             27   of assessing the value of 3D Diamond’s business personal property. Atlantic
                             28   Casualty’s hired vendor values 3D Diamond’s business personal property at
                                                                                          COMPLAINT FOR DECLARATORY
                                                                           -4-                                RELIEF
                             Case 2:22-cv-03981-MWF-E Document 1 Filed 06/10/22 Page 5 of 9 Page ID #:5



                              1   approximately $1,360,000.
                              2         16.    3D Diamond continues to dispute Atlantic Casualty’s valuation of its
                              3   business personal property and continues to refuse to provide the Requested
                              4   Documentation or to permit an inspection thereof. However, 3D Diamond has
                              5   confirmed that it keeps the types of records requested and has an accountant with
                              6   which it communicates about such matters.
                              7         17.    3D Diamond asserts it has provided all documentation it was required
                              8   to provide in support of the Claim.
                              9         18.    Due to the differing of opinions with respect to the value of the Claim
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                             10   and 3D Diamond’s duty to make its records available, Atlantic Casualty has filed
                             11   this instant declaratory judgment action seeking guidance from the Court as to its
       Los Angeles




                             12   payment obligations.
                             13         19.    Atlantic Casualty seeks a declaration from the Court that 3D Diamond
                             14   is not entitled to recover any additional amounts under the Policy for the Claim
                             15   because it has refused to provide the Requested Documentation or make it available
                             16   for inspection to Atlantic Casualty. In the alternative, Atlantics seeks a declaration
                             17   from the Court that 3D Diamond is not entitled to recover any additional amounts
                             18   under the Policy for the Claim unless and until it provides the Requested
                             19   Documentation and/or makes its records available for inspection by Atlantic
                             20   Casualty.
                             21         Relevant Policy Provisions
                             22         20.    The Policy’s Insuring Agreement states as follows:
                             23         BUILDING AND PERSONAL PROPERTY COVERAGE FORM
                             24         A. Coverage
                                        We will pay for direct physical loss of or damage to Covered Property at the
                             25         premises described in the Declarations caused by or resulting from any
                                        Covered Cause of Loss.
                             26
                                        ***
                             27
                                        F.    Additional Conditions
                             28         The following conditions apply in addition to the Common Policy Conditions
                                                                                            COMPLAINT FOR DECLARATORY
                                                                           -5-                                  RELIEF
                             Case 2:22-cv-03981-MWF-E Document 1 Filed 06/10/22 Page 6 of 9 Page ID #:6



                              1           and the Commercial Property Conditions:
                              2           Coinsurance
                              3           If a Coinsurance percentage is shown in the Declarations, the following
                                          condition applies:
                              4                   a.     We will not pay the full amount of any loss if the value of
                                          Covered Property at the time of loss times the Coinsurance percentage shown
                              5           for it in the Declarations is greater than the Limit of Insurance for the
                                          property.
                              6
                                          Instead, we will determine the most we will pay using the following steps:
                              7
                                          (1) Multiply the value of Covered Property at the time of loss by the
                              8           Coinsurance percentage;
                              9           (2) Divide the Limit of Insurance of the property by the figure determined
                                          in Step (1);
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                             10
                                          (3) Multiply the total amount of loss, before the application of any
                             11           deductible, by the figure determined in Step (2); and
       Los Angeles




                             12           (4) Subtract the deductible from the figure determined in Step (3).
                                          We will pay the amount determined in Step (4) or the Limit of Insurance,
                             13           whichever is less. For the remainder, you will either have to rely on other
                                          insurance or absorb the loss yourself.
                             14
                                                                                ***
                             15
                                                 b.    If one Limit of Insurance applies to two or more separate items,
                             16           this condition will apply to the total of all property to which the limit applies.
                             17     21.         The Policy’s “Loss Conditions” section states as follows:
                             18           E.    Loss Conditions
                             19                 The following conditions apply in addition to the Common Policy
                                                Conditions and the Commercial Property Conditions.
                             20
                                                       * * *
                             21                 3.     Duties In The Event Of Loss Or Damage
                             22                 a.     You must see that the following are done in the event of loss
                                                       or damage to Covered Property:
                             23                        * * *
                                                       (5)   At our request, give us complete inventories of the
                             24                              damaged and undamaged property. Include quantities,
                                                             costs, values and amount of loss claimed.
                             25
                                                       (6)     As often as may be reasonably required, permit us to
                             26                                inspect the property proving the loss or damage and
                                                               examine your books and records. Also, … permit us to
                             27                                make copies from your books and records.
                                                       * * *
                             28
                                                                                              COMPLAINT FOR DECLARATORY
                                                                             -6-                                  RELIEF
                             Case 2:22-cv-03981-MWF-E Document 1 Filed 06/10/22 Page 7 of 9 Page ID #:7



                              1                        (8)   Cooperate with us in the investigation or settlement of
                                                             the claim.
                              2
                                               b.      We may examine any insured under oath, while not in the
                              3                        presence of any other insured and at such times as may be
                                                       reasonably required, about any matter relating to this
                              4                        insurance or the claim, including an insured's books and
                                                       records. In the event of an examination, an insured's answers
                              5                        must be signed.
                              6
                              7                               FIRST CAUSE OF ACTION
                              8            (Declaratory Relief – Atlantic Casualty Has Paid All Amounts Owed
                              9                              Under the Policy for the Claim)
                                        22.    Atlantic Casualty re-adopts and re-alleges each and every allegation
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                             10
                             11   contained in paragraphs 1-21 as though fully set forth herein.
       Los Angeles




                             12         23.    Atlantic Casualty has diligently investigated 3D Diamond’s Claim and,
                             13   based on its investigation to date, has determined that the value of 3D Diamond’s
                             14   claim, after applying the applicable deductibles and Coinsurance penalty, is
                             15   $57,040.00. This amount has been paid to 3D Diamond.
                             16         24.    3D Diamond claims Atlantic Casualty has miscalculated the value of
                             17   its business personal property but has refused to provide the financial records
                             18   requested by Atlantic Casualty so that Atlantic Casualty can further investigate the
                             19   value of 3D Diamond’s business personal property. The parties remain in dispute
                             20   as to whether 3D Diamond is required to provide any further documentation to
                             21   Atlantic Casualty.
                             22         25.    Atlantic Casualty is entitled to review the requested financial
                             23   documents of 3D Diamond under the plain language of the Policy.
                             24         26.    Accordingly, pursuant to 28 U.S.C. § 2201, Atlantic Casualty is
                             25   entitled to a declaration that it owes no duty to issue any additional payment to 3D
                             26   Diamond for the Claim submitted under the Policy because 3D Diamond has failed
                             27   and refused to provide Atlantic Casualty with the Requested Documentation or to
                             28   otherwise allow Atlantic Casualty to inspect 3D Diamond’s financial records with
                                                                                              COMPLAINT FOR DECLARATORY
                                                                             -7-                                  RELIEF
                             Case 2:22-cv-03981-MWF-E Document 1 Filed 06/10/22 Page 8 of 9 Page ID #:8



                              1   respect to the purchase and/or value of its business personal property.
                              2                             SECOND CAUSE OF ACTION
                              3         (Declaratory Relief – Atlantic Casualty Has No Duty To Pay Any
                              4         Additional Amounts For the Claim Without Cooperation From
                              5         Defendant)
                              6         27.    Atlantic Casualty re-adopts and re-alleges each and every allegation
                              7   contained in paragraphs 1-26 as though fully set forth herein.
                              8         28.    Atlantic Casualty has diligently investigated 3D Diamond’s claim and,
                              9   based on its investigation to date, has determined that the value of 3D Diamond’s
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                             10   Claim, after applying the applicable deductibles and Coinsurance penalty, is
                             11   $57,040.00. This amount has been paid to 3D Diamond.
       Los Angeles




                             12         29.    3D Diamond claims Atlantic Casualty has miscalculated the value of
                             13   its business personal property, but has refused to provide the Requested Documents
                             14   so that Atlantic Casualty can further investigate the value of 3D Diamond’s
                             15   business personal property. The parties remain in dispute as to whether 3D
                             16   Diamond is required to provide any further documentation to Atlantic Casualty.
                             17         30.    Atlantic Casualty is entitled to obtain and review the Requested
                             18   Documents under the plain language of the Policy.
                             19         31.    Accordingly, pursuant to 28 U.S.C. § 2201, in the absence of a
                             20   Declaration that Atlantic Casualty has paid all amounts to 3D Diamond it owes for
                             21   this Claim, Atlantic Casualty is entitled to a declaration that it owes no duty to issue
                             22   any additional payment to 3D Diamond for the Claim unless and until 3D Diamond
                             23   provides Atlantic Casualty with the Requested Documents with respect to the
                             24   purchase and/or value of 3D Diamond’s business personal property.
                             25                                 PRAYER FOR RELIEF
                             26         WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
                             27      1. Enter a declaratory judgment that Atlantic Casualty has paid all amounts
                             28         owed for the subject Claim under the subject Policy; or, in the alternative,
                                                                                            COMPLAINT FOR DECLARATORY
                                                                           -8-                                  RELIEF
                             Case 2:22-cv-03981-MWF-E Document 1 Filed 06/10/22 Page 9 of 9 Page ID #:9



                              1     2. Enter a declaratory judgment that Atlantic Casualty is not obligated to pay
                              2        any additional amounts to 3D Diamond for the subject Claim unless and until
                              3        3D Diamond provides, or allows Atlantic Casualty to inspect, the Requested
                              4        Documents.
                              5     3. Grant other such relief as this Court deems just and appropriate.
                              6
                              7   Dated: June 10, 2022                      ROPERS MAJESKI PC
                              8
                              9                                             By:/s/ Susan J. Welde
                                                                               SUSAN J. WELDE
A Professional Corporation




                             10                                                Attorneys for Plaintiff
                                                                               ATLANTIC CASUALTY
                             11                                                INSURANCE COMPANY
       Los Angeles




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                             28
                                                                                         COMPLAINT FOR DECLARATORY
                                                                         -9-                                 RELIEF
